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                           UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF NEW YORK


 JULIAN CHA, derivatively on behalf of                   Case No.:
 CARLOTZ, INC.,

        Plaintiff,

        v.                                               DEMAND FOR JURY TRIAL

 DAVID R. MITCHELL, LUIS IGNACIO
 SOLORZANO AIZPURU, KIMBERLY H.
 SHEEHY, LINDA B. ABRAHAM, MICHAEL
 W. BOR, STEVEN G. CARREL, SARAH M.
 KAUSS, JAMES E. SKINNER, and THOMAS W.
 STOLTZ,

        Defendants,

        and

 CARLOTZ, INC.,

 Nominal Defendant.




                 VERIFIED SHAREHOLDER DERIVATIVE COMPLAINT

       Plaintiff Julian Cha (“Plaintiff”), by Plaintiff’s undersigned attorneys, derivatively and on

behalf of Nominal Defendant CarLotz, Inc. (“CarLotz” or the “Company”), files this Verified

Shareholder Derivative Complaint against Defendants David R. Mitchell, Luis Ignacio Solorzano

Aizpuru, Kimberly H. Sheehy, Linda B. Abraham, Michael W. Bor, Steven G. Carrel, Sarah M.

Kauss, James E. Skinner, and Thomas W. Stoltz (collectively, the “Individual Defendants” and

with CarLotz, “Defendants”) for breaches of their fiduciary duties as directors and/or officers of

CarLotz, unjust enrichment, abuse of control, gross mismanagement, waste of corporate assets,
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violations of Section 14(a) of the Securities Exchange Act of 1934 (the “Exchange Act”), and for

contribution under Sections 10(b) and 21D of the Exchange Act. As for Plaintiff’s complaint

against the Individual Defendants, Plaintiff alleges the following based upon personal knowledge

as to Plaintiff and Plaintiff’s own acts, and information and belief as to all other matters, based

upon, inter alia, the investigation conducted by and through Plaintiff’s attorneys, which

included, among other things, a review of the Defendants’ public documents, conference calls

and announcements made by Defendants, United States Securities and Exchange Commission

(“SEC”) filings, wire and press releases published by and regarding CarLotz, legal filings, news

reports, securities analysts’ reports and advisories about the Company, and information readily

obtainable on the Internet. Plaintiff believes that substantial evidentiary support will exist for the

allegations set forth herein after a reasonable opportunity for discovery.

                                   NATURE OF THE ACTION

        1.       This is a shareholder derivative action that seeks to remedy wrongdoing

committed by CarLotz’s directors and officers from December 30, 2020 to May 25, 2021 (the

“Relevant Period”).

        2.       CarLotz is a Delaware corporation based in Virginia that operates a

consignment-to-retail used-vehicle marketplace where corporate vehicle sourcing partners and

retail used-vehicle sellers can sell at prices that are usually below those of traditional dealerships.

        3.       On January 21, 2021, the Company was formed as a publicly-traded corporation

through the merger (the “Merger”) of one of its predecessors, also called CarLotz, Inc., with the

other predecessor Acamar Partners Acquisition Corp. (“Acamar Partners,” also referred to pre-

merger as the “Company”), a publicly-traded blank check company formed for the purpose of

effecting a merger or similar business combination with one or more businesses.


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       4.       During the Relevant Period and leading up to the Merger, the Company touted

its gross profit and gross profit per unit (“GPU”) and noted a trend of growth for these figures.

Moreover, while the Company discussed in its SEC filings the hypothetical risk of slowing sales,

it did not reveal that this had already begun actively occurring, and therefore was an actualized

rather than merely hypothetical concern. As a result of these slowing sales, the Company’s gross

profit and GPU would decline.

       5.       On March 15, 2021, the Company disclosed its financial results for the fourth

quarter and full fiscal year both ended December 31, 2020. During an earnings conference call

with investors and analysts to discuss these results, Chief Financial Officer (“CFO”) Defendant

Thomas W. Stoltz (“Stoltz”) stated that gross profit and GPU “were softer than . . . expected”

because of “the surge in inventory during the quarter and the resulting lower retail unit

profitability.” Chief Executive Officer (“CEO”) Defendant Michael W. Bor (“Bor”) also

reported that the additional inventory “created a logjam that resulted in slower processing and

higher days to sell.”

       6.       On this news, the price per share of the Company’s common stock fell $0.79, or

8.5%, to close March 16, 2021 at $8.45. The drop continued over the next two trading days to

close at $7.83 per share on March 18, 2021, a decline in value of $0.62 per share or 7.3%.

       7.       On May 10, 2021, the Company revealed its financial results for the fiscal

quarter ended March 31, 2021, again showing underperforming GPU. The Company had

expected retail GPU to be between $1,300 and $1,500 but instead reported $1,182.

       8.       On this news, the price per share of the Company’s common stock fell $0.94, or

14%, to close May 11, 2021 at $5.57. The next day, May 12, 2021, the price per share of the

Company’s common stock continued to fall, by $0.45 or 8%, to close at $4.12.


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       9.       Finally, on May 26, 2021, the Company issued a press release providing an

“Update on [its] Profit-Sharing Sourcing Partner Arrangement[.]” The press release revealed that

“the Company’s profit-sharing corporate vehicle sourcing partner informed the Company that, in

light of current wholesale market conditions, it has paused consignments to the Company.” The

press release revealed how damaging a development this was in acknowledging that “this

sourcing partner accounted for more than 60% of the cars sold and sourced” during first quarter

2021 and “less than 50% of the cars sold and approximately 25% of cars sourced” during second

quarter 2021 to date.

       10.      On this news, the price per share of the Company’s common stock fell $0.70, or

13.4%, to close May 26, 2021 at $4.51.

       11.      During the Relevant Period, the Individual Defendants breached their fiduciary

duties by personally making and/or causing the Company to make to the investing public a series

of materially false and misleading statements regarding the Company’s business, operations, and

prospects. Specifically, the Individual Defendants willfully or recklessly made and/or caused the

Company to make false and misleading statements that failed to disclose, inter alia, that: (1)

because of “surge in inventory” during the second half of 2020, the Company was experiencing a

“a logjam that resulted in slower processing and higher days to sell[;]” (2) because of this, the

Company’s GPU would be negatively affected; (3) to minimize returns to the corporate vehicle

sourcing partner accounting for over 60% of the Company’s inventory, the Company engaged in

aggressive pricing; (4) due to the foregoing, the Company’s GPU forecast was inflated; (5) due

to market conditions, this corporate vehicle sourcing partner was likely to pause consignments to

the Company; and (6) the Company failed to maintain internal controls. As a result of the

foregoing, the Company’s public statements about its business, operations, and prospects were


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materially false and misleading and/or lacked a reasonable basis at all relevant times.

        12.        The Individual Defendants also breached their fiduciary duties by failing to

correct and/or causing the Company to fail to correct these false and misleading statements and

omissions of material fact, while one of the Individual Defendants sold Company shares at

inflated prices.

        13.        Additionally, in breach of their fiduciary duties, the Individual Defendants caused

the Company to fail to maintain adequate internal controls.

        14.        In light of the Individual Defendants’ misconduct—which has subjected the

Company, its CEO, and its CFO, to a consolidated federal securities fraud class action lawsuit

pending in the United States District Court for the Southern District of New York (the

“Securities Class Action”) and which has further subjected the Company to the need to undertake

intake internal investigations, the need to implement adequate internal controls, losses from the

waste of corporate assets, and losses due to the unjust enrichment of Individual Defendants who

were improperly overcompensated by the Company and/or who benefitted from the wrongdoing

alleged herein—the Company will have to expend many millions of dollars.

        15.        The Company has been substantially damaged as a result of the Individual

Defendants’ knowing or highly reckless breaches of fiduciary duty and other misconduct.

        16.         In light of the breaches of fiduciary duty engaged in by the Individual

Defendants, most of whom are the Company’s current directors, of the collective engagement in

fraud and misconduct by the Company’s directors, of the substantial likelihood of the directors’

liability in this derivative action and of the CEO’s and CFO’s liability in the Securities Class

Action, of their not being disinterested and/or independent directors, a majority of the

Company’s Board of Directors (the “Board”) cannot consider a demand to commence litigation


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against themselves on behalf of the Company with the requisite level of disinterestedness and

independence.

                                 JURISDICTION AND VENUE

       17.      This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1331 because

Plaintiff’s claims raise a federal question under Section 14(a) of the Exchange Act (15 U.S.C.

§ 78n(a)(1)), Rule 14a-9 of the Exchange Act (17 C.F.R. § 240.14a-9), Section 10(b) of the

Exchange Act (15. U.S.C. § 78j(b)), and Section 21D of the Exchange Act (15 U.S.C. § 78u-

4(f)). Plaintiff’s claims also raise a federal question pertaining to the claims made in the

Securities Class Action based on violations of the Exchange Act.

       18.      This Court has supplemental jurisdiction over Plaintiff’s state law claims pursuant

to 28 U.S.C. § 1367(a).

       19.      This derivative action is not a collusive action to confer jurisdiction on a court of

the United States that it would not otherwise have.

       20.       Venue is proper in this District because the alleged misstatements and wrongs

complained of herein entered this District, the Defendants have conducted business in this

District, and Defendants’ actions have had an effect in this District.

                                             PARTIES

Plaintiff

       21.       Plaintiff is a current shareholder of CarLotz. Plaintiff has continuously held

CarLotz common stock at all relevant times.

Nominal Defendant

       22.       CarLotz is a Delaware corporation with its principal executive offices at 611

Bainbridge Street, Suite 100, Richmond, Virginia 23224. CarLotz’s shares trade on the

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NASDAQ Global Market (“NASDAQ”) under the ticker symbol “LOTZ.”

Individual Defendants

        23.       Defendant Bor is the CEO and Chairman of the Board of the Company.

        24.       Defendant Stoltz is the CFO of the Company.

        25.       Defendant David R. Mitchell (“Mitchell”) is a Company director. Defendant

Mitchell is also a Managing Director of TRP Capital Partners, LP (“TRP”), a transportation

private equity investment fund. According to the proxy statement that the Company filed with

the SEC on Schedule 14A on April 30, 2021 (the “2021 Proxy Statement”), as of April 14, 2021,

TRP beneficially owned 19.1% of the Company’s common stock of the Company, and as such

Defendant Mitchell also beneficially owned 19.1% of the Company’s common stock as of that

date.

        26.       Defendant Steven G. Carrel (“Carrel”) is a Company director. Defendant Carrel

is also a Managing Director of TRP. Defendant Carrel thus also beneficially owns 19.1% the

Company’s common stock, as of April 14, 2021.

        27.       Defendant Luis Ignacio Solorzano Aizpuru (“Solorzano”) is a Company director.

Defendant Solorzano is also a member of the Compensation Committee and Nominating and

Corporate Governance Committee. Moreover, Defendant Solorzano was a Partner and the CEO

of Acamar Partners prior to the Merger. According to the 2021 Proxy Statement, a related entity,

Acamar Partners Sponsor I LLC (“Acamar Sponsor”), beneficially owned 6.8% of the

Company’s common stock as of April 14, 2021. Thus, considered collectively with Acamar

Sponsor, Defendant Solorzano beneficially owned 7.9% of the Company’s common stock as of

April 14, 2021.

        28.       On January 21, 2021, the Company, TRP—controlled by Defendants Mitchell


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and Carrel; Acamar Sponsor—controlled by Defendant Solorzano, and Defendant Bor—the

Company’s CEO and Chairman, entered into a stockholders’ agreement (the “Stockholders

Agreement”) pursuant to which: (1) Defendant Bor will be nominated to the Board so long as he

is the Company’s Chief Executive Officer or he, together with his affiliated family trusts, holds

at least 10% of the outstanding shares of common stock; (2) TRP will have the right to nominate

two directors to the Board so long as it holds at least 10% of the outstanding shares of common

stock; (3) Acamar Sponsor will have the right to nominate two directors to the Board, so long as

Acamar Sponsor (or its managing members, collectively) holds at least 3% of the outstanding

shares of common stock; and (4) all other directors (who will be independent) will be nominated

by the Nominating and Corporate Governance Committee.

       29.     Defendant Kimberly H. Sheehy(“Sheehy”) is a Company director and is the

Chairman of the Audit Committee and a member of the Nominating and Corporate Governance

Committee.

       30.     Defendant Linda B. Abraham (“Abraham”) is a Company director and is the

Chair of the Compensation Committee.

       31.     Defendant Sarah M. Kauss (“Kauss”) is a Company director and is a member of

the Audit Committee and Compensation Committee.

       32.     Defendant James E. Skinner (“Skinner”) is a Company director and is a member

of the Audit Committee and the Chairman of the Nominating and Corporate Governance

Committee.

              FIDUCIARY DUTIES OF THE INDIVIDUAL DEFENDANTS

       33.    By reason of their positions as officers, directors, and/or fiduciaries of CarLotz

and because of their ability to control the business and corporate affairs of CarLotz, the

Individual Defendants owed CarLotz and its shareholders fiduciary obligations of trust, loyalty,
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good faith, and due care, and were and are required to use their utmost ability to control and

manage CarLotz in a fair, just, honest, and equitable manner. The Individual Defendants were

and are required to act in furtherance of the best interests of CarLotz and its shareholders so as to

benefit all shareholders equally.

       34.     Each director and officer of the Company owes to CarLotz and its shareholders

the fiduciary duty to exercise good faith and diligence in the administration of the Company and

in the use and preservation of its property and assets and the highest obligations of fair dealing.

       35.     The Individual Defendants, because of their positions of control and authority as

directors, and/or officers of CarLotz, were able to and did, directly and/or indirectly, exercise

control over the wrongful acts complained of herein.

       36.     To discharge their duties, the officers and directors of CarLotz were required to

exercise reasonable and prudent supervision over the management, policies, controls, and

operations of the Company.

       37.     Each Individual Defendant, by virtue of their position as a director and/or officer,

owed to the Company and to its shareholders the highest fiduciary duties of loyalty, good faith,

and the exercise of due care and diligence in the management and administration of the affairs of

the Company, as well as in the use and preservation of its property and assets. The conduct of the

Individual Defendants complained of herein involves a knowing and culpable violation of their

obligations as directors and officers of CarLotz, the absence of good faith on their part, or a

reckless disregard for their duties to the Company and its shareholders that the Individual

Defendants were aware or should have been aware posed a risk of serious injury to the

Company. The conduct of the Individual Defendants who were also the officers and directors of




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the Company has been ratified by the remaining Individual Defendants who collectively

comprised a majority of CarLotz’s Board at all relevant times.

       38.    As the senior executive officers and/or directors of a publicly-traded company

whose common stock was registered with the SEC pursuant to the Exchange Act and traded on

the NASDAQ, the Individual Defendants had a duty to prevent and not to effect the

dissemination of inaccurate and untruthful information with respect to the Company’s financial

condition, performance, growth, operations, financial statements, business, products,

management, earnings, internal controls, and present and future business prospects, including the

dissemination of false information regarding the Company’s business, prospects, and operations,

and had a duty to cause the Company to disclose in its regulatory filings with the SEC all those

facts described in this Complaint that it failed to disclose, so that the market price of the

Company’s common stock would be based upon truthful and accurate information. Further, they

had a duty to ensure the Company remained in compliance with all applicable laws.

       39.    To discharge their duties, the officers and directors of CarLotz were required to

exercise reasonable and prudent supervision over the management, policies, practices, and

internal controls of the Company. By virtue of such duties the officers and directors of CarLotz

were required to, among other things:

       (a)    ensure that the Company was operated in a diligent, honest, and prudent manner

in accordance with the laws and regulations of Delaware, Virginia, and the United States, and

pursuant to CarLotz’s own Code of Conduct;

       (b)    conduct the affairs of the Company in an efficient, business-like manner so as to

make it possible to provide the highest quality performance of its business, to avoid wasting the

Company’s assets, and to maximize the value of the Company’s stock;


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         (c)   remain informed as to how CarLotz conducted its operations, and, upon receipt of

notice or information of imprudent or unsound conditions or practices, to make reasonable

inquiry in connection therewith, and to take steps to correct such conditions or practices;

         (d)   establish and maintain systematic and accurate records and reports of the business

and internal affairs of CarLotz and procedures for the reporting of the business and internal

affairs to the Board and to periodically investigate, or cause independent investigation to be

made of, said reports and records;

         (e)   maintain and implement an adequate and functioning system of internal legal,

financial, and management controls, such that CarLotz’s operations would comply with all

applicable laws and CarLotz’s financial statements and regulatory filings filed with the SEC and

disseminated to the public and the Company’s shareholders would be accurate;

         (f)   exercise reasonable control and supervision over the public statements made by

the Company’s officers and employees and any other reports or information that the Company

was required by law to disseminate;

         (g)   refrain from unduly benefiting themselves and other Company insiders at the

expense of the Company; and

         (h)   examine and evaluate any reports of examinations, audits, or other financial

information concerning the financial affairs of the Company and to make full and accurate

disclosure of all material facts concerning, inter alia, each of the subjects and duties set forth

above.

         40.   Each of the Individual Defendants further owed to CarLotz and the shareholders

the duty of loyalty requiring that each favor CarLotz’s interest and that of its shareholders over




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their own while conducting the affairs of the Company and refrain from using their position,

influence, or knowledge of the affairs of the Company to gain personal advantage.

       41.     At all times relevant hereto, the Individual Defendants were the agents of each

other and of CarLotz and were at all times acting within the course and scope of such agency.

       42.     Because of their advisory, executive, managerial, directorial, and controlling

positions with CarLotz, each of the Individual Defendants had access to adverse, nonpublic

information about the Company.

       43.      The Individual Defendants, because of their positions of control and authority,

were able to and did, directly or indirectly, exercise control over the wrongful acts complained of

herein, as well as the contents of the various public statements issued by CarLotz.

        CONSPIRACY, AIDING AND ABETTING, AND CONCERTED ACTION

       44.     In committing the wrongful acts alleged herein, the Individual Defendants have

pursued, or joined in the pursuit of, a common course of conduct, and have acted in concert with

and conspired with one another in furtherance of their wrongdoing. The Individual Defendants

caused the Company to conceal the true facts as alleged herein. The Individual Defendants

further aided and abetted and/or assisted each other in breaching their respective duties.

       45.     The purpose and effect of the conspiracy, common enterprise, and/or common

course of conduct was, among other things, to: (i) facilitate and disguise the Individual

Defendants’ violations of law, including breaches of fiduciary duty, unjust enrichment, waste of

corporate assets, gross mismanagement, abuse of control, and violations of the Exchange Act ;

(ii) conceal adverse information concerning the Company’s operations, financial condition, legal

compliance, future business prospects, and internal controls; and (iii) artificially inflate the

Company’s stock price.


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        46.     The Individual Defendants accomplished their conspiracy, common enterprise,

and/or common course of conduct by causing the Company purposefully or recklessly to conceal

material facts, fail to correct such misrepresentations, and violate applicable laws. In furtherance

of this plan, conspiracy, and course of conduct, the Individual Defendants collectively and

individually took the actions set forth herein. Because the actions described herein occurred

under the authority of the Board, each of the Individual Defendants who is a director of CarLotz

was a direct, necessary, and substantial participant in the conspiracy, common enterprise, and/or

common course of conduct complained of herein.

        47.     Each of the Individual Defendants aided and abetted and rendered substantial

assistance in the wrongs complained of herein. In taking such actions to substantially assist the

commission of the wrongdoing complained of herein, each of the Individual Defendants acted

with actual or constructive knowledge of the primary wrongdoing, either took direct part in, or

substantially assisted in the accomplishment of that wrongdoing, and was or should have been

aware of his overall contribution to and furtherance of the wrongdoing.

        48.     At all times relevant hereto, each of the Individual Defendants was the agent of

each of the other Individual Defendants and of CarLotz, and was at all times acting within the

course and scope of such agency.

                     THE INDIVIDUAL DEFENDANTS’ MISCONDUCT

        Background

        49.      CarLotz is a Delaware corporation based in Virginia that operates a

consignment-to-retail used-vehicle marketplace where corporate vehicle sourcing partners and

retail used-vehicle sellers can sell at prices that are usually below those of traditional dealerships.

        50.      On January 21, 2021, the Company was formed as a publicly-traded corporation


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through the Merger.

       51.       During the Relevant Period and leading up to the Merger, the Company touted

its gross profit and GPU and noted a trend of growth for these figures. Moreover, while the

Company discussed in its SEC filings the hypothetical risk of slowing sales, it did not reveal that

this had already begun actively occurring, and therefore was an actualized rather than merely

hypothetical concern. As a result of these slowing sales, the Company’s gross profit and GPU

would decline.

       False and Misleading Statements

       December 30, 2020 Prospectus

       52.       On December 30, 2020, the Company filed a prospectus with the SEC on Form

424B3 (the “Prospectus”). The Prospectus stated the following regarding CarLotz Inc.’s

inventory build-up:


       In March 2020, the World Health Organization declared the outbreak and spread of
       the COVID-19 virus a pandemic. COVID-19 impacted both sales and inventory
       count from March through September 2020. Unit volumes hit a trough in April
       2020, with 40% year-over-year declines. We implemented proactive cost-structure
       optimization measures that helped ensure we maintained sufficient liquidity and we
       implemented a number of measures to protect the health and safety of our customers
       and our workforce. Our May 2020 sales grew over 40% month-over-month as travel
       restrictions began to ease. As wholesale prices skyrocketed, we used our asset-light,
       non-competitive vehicle sourcing model to defend and grow our margins. With our
       maintained focus, we delivered our most profitable months since our inception and
       we believe we are poised to return to industry-leading growth. Our retail vehicle
       units sold were 583 in October and 624 in November, with our starting inventory
       increasing to 2,172 vehicles as of November 1, 2020 and 2,273 as of December 1,
       2020 as compared to 1,567 vehicles available for sale as of September 30, 2020,
       as we accelerated intake from a rapidly growing national OEM account.

(Emphasis added.)

       53.       The Prospectus framed risks from this inventory buildup as potential rather than

actualized, stating: “If we are unable to operate our processing centers efficiently, we could

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experience delivery delays, a decrease in the quality of our reconditioning services, delays in

listing our inventory, additional expenses and loss of potential and existing corporate vehicle

sourcing partners and retail sellers and subsequent revenues, which may materially and

adversely affect our business, financial condition and results of operations.” (Emphasis added.)

       54.      The Prospectus stated, regarding its corporate vehicle sourcing partners that:

“For the nine months ended September 30, 2020, three of our corporate vehicle sourcing

partners, with whom we do not have long term consignment contracts, accounted for 49% of the

cars we sold.” The Prospectus continued that: “For the six months in the period ended November

30, 2020, two of our corporate vehicle sourcing partners, with whom we do not have long-term

consignment contracts, accounted for more than 50% of the cars we sold and more than 50% of

our revenues during this period was derived from the sale of these cars.” The Prospectus did not

discuss the aggressive pricing the Company was engaged in which would threaten these

relationships, and that a pause in one or more of these relationships was likely.

       55.      The Prospectus stated that retail GPU increased “to $1,900 per unit for the nine

months ended September 30, 2020 . . . driven by a shift in the sale of owned units to consigned

units.” However, the Prospectus stated that GPU could “fluctuate from period to period” due to

the Company’s “alternative fee arrangements with certain of our corporate vehicle sourcing

partners.” Specifically, the Company stated in the Prospectus:

       In addition to our flat fee pricing model, we enter into alternative fee arrangements
       with certain of our corporate vehicle sourcing partners, which can include
       arrangements where we share a percentage of vehicle sale proceeds and/or customer
       fees with our corporate sourcing partners. Under these sharing arrangements, our
       gross profit for a particular unit could be higher or lower than the gross profit
       per unit we would realize under our flat fee pricing model depending on the unit’s
       sale price and fees we are able to charge in connection with the sale. As we do
       not have binding long term contracts with our corporate vehicle sourcing partners
       and do not require them to make vehicles available to us, our mix of vehicles
       sourced under alternative fee arrangements is likely to fluctuate over time. Our

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       gross profit per unit is therefore likely to fluctuate from period to period, perhaps
       significantly, due to our sourcing partner mix as well as due to the sales prices and
       fees we are able to collect on the vehicles we source under alternative fee
       arrangements.

(Emphasis added.)

       56.      The statements in paragraphs ¶¶ 52–55 above were materially false and/or

misleading and failed to disclose material adverse facts about the Company’s business, operations,

and prospects. Specifically, the identified statements failed to disclose that: ((1) because of

“surge in inventory” during the second half of 2020, the Company was experiencing a “a logjam

that resulted in slower processing and higher days to sell[;]” (2) because of this, the Company’s

GPU would be negatively affected; (3) to minimize returns to the corporate vehicle sourcing

partner accounting for over 60% of the Company’s inventory, the Company engaged in

aggressive pricing; (4) due to the foregoing, the Company’s GPU forecast was inflated; (5) due

to market conditions, this corporate vehicle sourcing partner was likely to pause consignments to

the Company; and (6) the Company failed to maintain internal controls. As a result of the

foregoing, the Company’s positive statements about the Company’s business, operations, and

prospects were materially misleading and/or lacked a reasonable basis.

       February 11, 2021 Registration Statement

       57.     On February 11, 2021, the Company filed a registration statement with the SEC

on Form S-1 (the “Registration Statement”). The Registration Statement incorporated the

Prospectus and repeated its false and misleading statements. The Registration Statement was

signed by each of the Individual Defendants. The Registration Statement stated the following

regarding CarLotz Inc.’s inventory build-up:


       In March 2020, the World Health Organization declared the outbreak and spread of
       the COVID-19 virus a pandemic. COVID-19 impacted both sales and inventory

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       count from March through September 2020. Unit volumes hit a trough in April
       2020, with 40% year-over-year declines. We implemented proactive cost-structure
       optimization measures that helped ensure we maintained sufficient liquidity and we
       implemented a number of measures to protect the health and safety of our customers
       and our workforce. Our May 2020 sales grew over 40% month-over-month as travel
       restrictions began to ease. As wholesale prices skyrocketed, we used our asset-light,
       non-competitive vehicle sourcing model to defend and grow our margins. With our
       maintained focus, we delivered our most profitable months since our inception and
       we believe we are poised to return to industry-leading growth. Our retail vehicle
       units sold were 583 in October and 624 in November, with our starting inventory
       increasing to 2,172 vehicles as of November 1, 2020 and 2,273 as of December 1,
       2020 as compared to 1,567 vehicles available for sale as of September 30, 2020,
       as we accelerated intake from a rapidly growing national OEM account.

(Emphasis added.)

       58.      The Registration Statement framed risks from this inventory buildup as potential

rather than actualized, stating: “If we are unable to operate our processing centers efficiently, we

could experience delivery delays, a decrease in the quality of our reconditioning services, delays

in listing our inventory, additional expenses and loss of potential and existing corporate vehicle

sourcing partners and retail sellers and subsequent revenues, which may materially and

adversely affect our business, financial condition and results of operations.” (Emphasis added.)

       59.      The Registration Statement stated, regarding its corporate vehicle sourcing

partners that: “For the nine months ended September 30, 2020, three of our corporate vehicle

sourcing partners, with whom we do not have long term consignment contracts, accounted for

49% of the cars we sold.” The Registration Statement continued that: “For the six months in the

period ended November 30, 2020, two of our corporate vehicle sourcing partners, with whom we

do not have long-term consignment contracts, accounted for more than 50% of the cars we sold

and more than 50% of our revenues during this period was derived from the sale of these cars.”

The Registration Statement did not discuss the aggressive pricing the Company was engaged in

which would threaten these relationships, and that a pause in one or more of these relationships


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was likely.

       60.      The Registration Statement stated that retail GPU increased “to $1,900 per unit

for the nine months ended September 30, 2020 . . . driven by a shift in the sale of owned units to

consigned units.” However, the Registration Statement stated that GPU could “fluctuate from

period to period” due to the Company’s “alternative fee arrangements with certain of our

corporate vehicle sourcing partners.” Specifically, the Company stated in the Registration

Statement:

       In addition to our flat fee pricing model, we enter into alternative fee arrangements
       with certain of our corporate vehicle sourcing partners, which can include
       arrangements where we share a percentage of vehicle sale proceeds and/or customer
       fees with our corporate sourcing partners. Under these sharing arrangements, our
       gross profit for a particular unit could be higher or lower than the gross profit
       per unit we would realize under our flat fee pricing model depending on the unit’s
       sale price and fees we are able to charge in connection with the sale. As we do
       not have binding long term contracts with our corporate vehicle sourcing partners
       and do not require them to make vehicles available to us, our mix of vehicles
       sourced under alternative fee arrangements is likely to fluctuate over time. Our
       gross profit per unit is therefore likely to fluctuate from period to period, perhaps
       significantly, due to our sourcing partner mix as well as due to the sales prices and
       fees we are able to collect on the vehicles we source under alternative fee
       arrangements.

 (Emphasis added.)

       61.      The statements in paragraphs ¶¶ 57–60 above were materially false and/or

misleading and failed to disclose material adverse facts about the Company’s business, operations,

and prospects. Specifically, the identified statements failed to disclose that: (1) because of “surge

in inventory” during the second half of 2020, the Company was experiencing a “a logjam that

resulted in slower processing and higher days to sell[;]” (2) because of this, the Company’s GPU

would be negatively affected; (3) to minimize returns to the corporate vehicle sourcing partner

accounting for over 60% of the Company’s inventory, the Company engaged in aggressive

pricing; (4) due to the foregoing, the Company’s GPU forecast was inflated; (5) due to market

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conditions, this corporate vehicle sourcing partner was likely to pause consignments to the

Company; and (6) the Company failed to maintain internal controls. As a result of the foregoing,

the Company’s positive statements about the Company’s business, operations, and prospects

were materially misleading and/or lacked a reasonable basis.

       The Truth Begins Emerging as the False and Misleading Statements Continue

       March 15, 2021 Conference Call

       62.      On March 15, 2021, the Company revealed that its profits were negatively

impacted by the surge in inventory during the fourth quarter 2020. During an earnings

conference call with investors and analysts to discuss the fourth quarter and full year 2020

results, Defendant Stoltz stated that profits were negatively affected by “the surge in inventory

during the quarter and the resulting lower retail unit profitability, as a result of slower sell-

throughs and more vehicles wholesaled.” (Emphasis added.) Defendant Bor likewise stated that

“[t]he additional inventory that we secured to drive our growth put pressure on our processing

centers and created a logjam that resulted in slower processing and higher days to sell,” and

Defendant Stoltz stated that as a result, gross profit and GPU “increased 25%, but were softer

than we expected.” (Emphasis added.)

       63.      On this news, the price per share of the Company’s common stock fell $0.79, or

8.5%, to close March 16, 2021 at $8.45. The drop continued over the next two trading days to

close at $7.83 per share on March 18, 2021, a decline in value of $0.62 per share or 7.3%.

       64.      Still, during the same call, Defendant Bor stated that CarLotz “[is] remediating

[these issues] through increased staffing, enhanced leadership, and process improvements.”

Defendant Stoltz also sought to assure investors by nothing that“[a]s we work through this

excess inventory, a large majority of what we’re selling right now is this profit share program


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and as we get our inventory levels more in line with where they should be based on the demand in

our existing hubs, we will see the GPU improve substantially on that front.” Defendant Stoltz

continued that the Company “expect[s] our flow of inventory to better match demand now

through the balance of this year.” Defendant Stoltz added: “In the meantime, we expect the

higher than ideal inventory levels that we saw earlier this year in our existing hubs to impact our

first quarter 2021 gross profit and second quarter to a lesser extent, which impacts our full-year

gross profit and GPU guidance.”

       March 15, 2021 Form 10-K

       65.      The same day, March 15, 2021 the Company filed its annual report on Form 10-K

with the SEC for the period ended December 31, 2020 (the “2020 10-K”). The 2020 10-K was

signed by each of the Individual Defendants and contained certifications signed by Defendants

Bor and Stoltz, pursuant to Rules 13a-14(a) and 15d-14(a) promulgated under the Exchange Act

and the Sarbanes-Oxley Act of 2002 (“SOX”), attesting to the accuracy of the financial

statements contained in the 1Q18 10-Q, the disclosure of any material changes to the Company’s

internal controls, and the disclosure of any fraud committed by the Company, its officers, or its

directors. With regard to the Company’s sourcing partners, the 2020 10-K stated:

       One or more of our corporate vehicle sourcing partners may represent 10% or
       more of our total vehicles consigned, and at times significantly more, in the
       normal course of our vehicle sourcing.
       One or more of our corporate vehicle sourcing partners will often represent 10% or
       more of the vehicles we source over a particular period. For example, during the
       year ended December 31, 2020, two of our corporate vehicle sourcing partners,
       with whom we do not have long-term consignment contracts, accounted for over
       40% of the cars we sold. Furthermore, for the fourth quarter of 2020 and
       continuing during the first quarter of 2021 to date, one of our corporate vehicle
       sourcing partners has accounted for over 60% of our vehicles sourced. Over time,
       we may have concentrations of 10% or more for a number of reasons, and the
       concentrations will often vary among corporate vehicle sourcing partners.
       Some corporate vehicle sourcing partners may make a supply of vehicles
       available at certain times of a given year, while others may increase or decrease

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       their flow of vehicles for a number of reasons, including the performance of their
       business or prevailing business considerations and economic conditions.

       Furthermore, at times, we may source a significantly higher portion of our
       consigned vehicles from one or more corporate vehicle sourcing partners. Such
       concentrations can result from a variety of factors, some of which are beyond our
       control. During any given time period, we may elect to source a higher percentage
       of vehicles from one or more corporate vehicle sourcing partners for a variety of
       reasons, including the availability of specific vehicle makes and models.

       Sourcing a significant portion of our consigned vehicles from a limited number
       of corporate vehicle sourcing partners exposes us to a number of risks. Our
       agreements with our corporate vehicle sourcing partners are generally subject to
       cancellation by either party upon 30 to 90 days’ notice. Generally, corporate
       vehicle sourcing partners make non-binding long-term commitments to us
       regarding consignment volumes. If a corporate vehicle sourcing partner from
       which we are sourcing a significant portion of our vehicles were to cease or
       significantly reduce making vehicles available to us, it could adversely affect our
       business, financial condition and results of operations as we would likely need to
       increase our sourcing of vehicles from other vehicle sourcing partners potentially
       on less favorable terms and conditions. Such an effort may take a number of
       months and may not precisely replicate the variety and quality of vehicles we have
       been sourcing from this single source. Further, we could be required to increase our
       purchasing of vehicles to maintain optimal inventory levels and mix as we work to
       increase vehicle supply from other vehicle sourcing partners, which could
       negatively affect our margins and gross profit per vehicle. Furthermore, having a
       high concentration of vehicles in our inventory on consignment from a single
       corporate vehicle sourcing partner could indirectly expose us to credit risk with
       respect to that corporate vehicle sourcing partner as we may be restricted from
       selling those vehicles or realizing profits on the sale of those vehicles in the event
       of that corporate vehicle sourcing partner’s insolvency.

(First emphasis in original; subsequent emphases added.)

       66.    Furthermore, the 2020 10-K framed a potential GPU decline as a possibility

stemming from the nature of fee arrangements with corporate vehicle sourcing partners, stating:

       For the fourth quarter of 2020 and continuing during the first quarter of 2021 to
       date, one of our corporate vehicle sourcing partners with whom we have an
       alternative fee arrangement has accounted for over 60% of our vehicles sourced.

       Under our fee arrangement with this corporate vehicle sourcing partner, vehicles
       are returned to the corporate vehicle sourcing partner from consignment if the
       vehicle has not been sold through our retail channel within a specified time period.


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       In such instances, we are responsible for the expenses we have incurred with respect
       to the vehicle, including shipping costs and any refurbishment costs we have
       incurred. We have returned a number of vehicles from consignment during the
       first quarter of 2021 to date and expect to continue to return vehicles into the
       second quarter of 2021 as we seek to better match our intake of vehicles under
       this arrangement to our sales and reconditioning capacity. The expenses
       associated with these returned vehicles will reduce our gross profit during the
       first quarter of 2021 and for subsequent periods during which we experience such
       vehicle returns.

(Emphasis added.)

       March 19, 2021 Registration Statement

       67.     On March 19, 2021, the Company filed an amended Registration Statement with

the SEC on Form S-1/A that substantially repeated some of the false and misleading statements

contained in the Prospectus and the original Registration Statement. It was signed by, or on

behalf of, each of the Individual Defendants. The amended Registration Statement stated the

following regarding CarLotz Inc.’s inventory build-up:

       In March 2020, the World Health Organization declared the outbreak and
       spread of the COVID-19 virus a pandemic. During initial shelter in place
       orders and economic shutdowns, we saw a decrease in sales activity as
       consumers for the most part stayed home during the months of March through
       May of 2020. As our sales began to return to pre-COVID-19 levels late in the
       second quarter of 2020, the ongoing OEM plant shut-downs and repossession
       moratoriums limited vehicle supply from our corporate vehicle sourcing
       partners through most of the third quarter. During this time, we maintained our
       aggressive cost cutting measures by limiting marketing expense and inventory
       purchases in an effort to preserve liquidity. As we exited the third quarter and
       relaxed our capital preservation strategy, we saw record consignment and
       inventory volume that led to record quarterly unit sales and revenue.

(Emphasis added.)

       68.     The amended Registration Statement framed risks from this inventory buildup as

potential rather than actualized, stating: “If we are unable to operate our processing centers

efficiently, we could experience delivery delays, a decrease in the quality of our reconditioning

services, delays in listing our inventory, additional expenses and loss of potential and existing

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corporate vehicle sourcing partners and retail sellers and subsequent revenues, which may

materially and adversely affect our business, financial condition and results of operations.”

(Emphasis added.)

       69.      The amended Registration Statement stated, regarding its corporate vehicle

sourcing partners that: “For the year ended December 31, 2020, two of our corporate vehicle

sourcing partners, with whom we do not have long-term consignment contracts, accounted for

over 40% of the cars we sold. Furthermore, for the fourth quarter of 2020 and continuing during

the first quarter of 2021 to date, one of our corporate vehicle sourcing partners has accounted for

over 60% of our vehicles sourced.” The amended Registration Statement did not discuss the

aggressive pricing the Company was engaged in which would threaten these relationships, and

that a pause in one or more of these relationships was likely.

       March 23, 2021 Second Prospectus

       70.      On March 23, 2021, the Company filed another prospectus with the SEC on

Form 424B3 (the “Second Prospectus”) that repeated some of the false and misleading

statements contained in the Prospectus and the original and amended Registration Statements.

The Second Prospectus stated the following regarding CarLotz Inc.’s inventory build-up:

       In March 2020, the World Health Organization declared the outbreak and
       spread of the COVID-19 virus a pandemic. During initial shelter in place
       orders and economic shutdowns, we saw a decrease in sales activity as
       consumers for the most part stayed home during the months of March through
       May of 2020. As our sales began to return to pre-COVID-19 levels late in the
       second quarter of 2020, the ongoing OEM plant shut-downs and repossession
       moratoriums limited vehicle supply from our corporate vehicle sourcing
       partners through most of the third quarter. During this time, we maintained our
       aggressive cost cutting measures by limiting marketing expense and inventory
       purchases in an effort to preserve liquidity. As we exited the third quarter and
       relaxed our capital preservation strategy, we saw record consignment and
       inventory volume that led to record quarterly unit sales and revenue.

(Emphasis added.)

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       71.      The Second Prospectus framed risks from this inventory buildup as potential

rather than actualized, stating: “If we are unable to operate our processing centers efficiently, we

could experience delivery delays, a decrease in the quality of our reconditioning services, delays

in listing our inventory, additional expenses and loss of potential and existing corporate vehicle

sourcing partners and retail sellers and subsequent revenues, which may materially and

adversely affect our business, financial condition and results of operations.” (Emphasis added.)

       72.      The Second Prospectus stated, regarding its corporate vehicle sourcing partners

that: “For the year ended December 31, 2020, two of our corporate vehicle sourcing partners,

with whom we do not have long-term consignment contracts, accounted for over 40% of the cars

we sold. Furthermore, for the fourth quarter of 2020 and continuing during the first quarter of

2021 to date, one of our corporate vehicle sourcing partners has accounted for over 60% of our

vehicles sourced.” The Second Prospectus did not discuss the aggressive pricing the Company

was engaged in which would threaten these relationships, and that a pause in one or more of

these relationships was likely.

       73.     The statements in paragraphs ¶¶ 64–72 above were materially false and/or

misleading and failed to disclose material adverse facts about the Company’s business, operations,

and prospects. Specifically, the Individual Defendants failed, or caused the Company to fail, to

disclose that : (1) to minimize returns to the corporate vehicle sourcing partner accounting for

over 60% of the Company’s inventory, the Company engaged in aggressive pricing; (2) due to

the foregoing, the Company’s GPU forecast was inflated; (3) due to market conditions, this

corporate vehicle sourcing partner was likely to pause consignments to the Company; and (4) the

Company failed to maintain internal controls. As a result of the foregoing, the Company’s

positive statements about the Company’s business, operations, and prospects were materially

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misleading and/or lacked a reasonable basis.

       April 30, 2021 Proxy Statement

       74.      On April 30, 2021 the Company filed the 2021 Proxy Statement with the SEC.

Defendants Bor, Abraham, Carrel, Kauss, Mitchell, Sheehy, Skinner, and Solorzano solicited the

2021 Proxy Statement filed pursuant to Section 14(a) of the Exchange Act, which contained

material misstatements and omissions.1

       75.      The 2021 Proxy Statement called for Company shareholders to, inter alia: (1)

elect Defendants Mitchell, Sheehy, and Solorzano to the Board; and (2) ratify the appointment of

Deloitte & Touche LLP as the Company’s independent auditor for 2021.

       76.      The 20210 Proxy Statement said the following regarding the Board’s risk

oversight function, both on page 3 and page 14:

       Our Board has extensive involvement in the oversight of risk management related
       to us and our business and accomplishes this oversight through the regular
       reporting to our Board by the Audit Committee. The Audit Committee represents
       our Board by periodically reviewing our accounting, reporting and financial
       practices, including the integrity of our financial statements, the surveillance of
       administrative and financial controls and our compliance with legal and regulatory
       requirements. Through its regular meetings with management, the Audit
       Committee reviews and discusses all significant areas of our business and
       summarizes for our Board all areas of risk and the appropriate mitigating factors.
       In addition, our Board receives periodic detailed operating performance reviews
       from management.

       77.      The 2021 Proxy Statement was materially false and misleading because it failed

to disclose that contrary to the 2021 Proxy Statement’s descriptions of the Board’s risk oversight

function and the Audit Committee’s responsibilities, the Board and its committees were not


1
 Plaintiff’s allegations with respect to the misleading statements in the 2021 Proxy Statement are
based solely on negligence; they are not based on any allegation of reckless or knowing conduct
by or on behalf of the Individual Defendants, and they do not allege, and do not sound in, fraud.
Plaintiff specifically disclaims any allegations of, reliance upon any allegation of, or reference to
any allegation of fraud, scienter, or recklessness with regard to these allegations and related
claims.
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adequately exercising these functions, were causing or permitting the Company to issue false and

misleading statements, and thus the Individual Defendants on the Board were breaching their

fiduciary duties.

       78.     The 2021 Proxy Statement also failed to disclose that: (1) to minimize returns to

the corporate vehicle sourcing partner accounting for over 60% of the Company’s inventory, the

Company engaged in aggressive pricing; (2) due to the foregoing, the Company’s GPU forecast

was inflated; (3) due to market conditions, this corporate vehicle sourcing partner was likely to

pause consignments to the Company; and (4) the Company failed to maintain internal controls.

       79.     As a result of the material misstatements and omissions contained in the 2021

Proxy Statement, Company shareholders, inter alia, elected Defendants Mitchell, Sheehy, and

Solorzano to the Board, allowing them to continue breaching their fiduciary duties.

       May 10, 2021 Press Release and Earning Call

       80.      On May 10, 2021, the Company announced its first quarter 2021 financial

results, which revealed that GPU fell below expectations, in the following chart:




       81.      That same day, May 10, 2021, the Company held an earnings call with investors

and analysts to discuss the quarter’s results. During the call, Defendant Stoltz acknowledged that

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“gross profit and retail GPU both decreased year-over-year as a result of the carryover of Q4

excess inventory as related to our profit share account.” However, Defendant Stoltz maintained

that the Company had “cleared substantially all of this aged inventory in the quarter ahead of

schedule with aggressive pricing rather than absorbing shipping and reconditioning costs on

vehicles returns to the client. While this negatively impacted our retail GPU in the quarter, we

did achieve the high end of our gross profit guidance by selling more of these units late in the

quarter.” While claiming that retail GPU would “improve,” Defendant Bor noted that the

Company would “not to give specific guidance[.]”

       82.      On this news, the price per share of the Company’s common stock fell $0.94, or

14%, to close May 11, 2021 at $5.57. The next day, May 12, 2021, the price per share of the

Company’s common stock continued to fall, by $0.45 or 8%, to close at $4.12.

       May 11, 2021 Prospectus Supplement

       83.      Also on May, 10, 2021, the Company filed a prospectus supplement with the

SEC on Form 424B3 (the “Prospectus Supplement”) that repeated some of the false and

misleading statements contained in the previous prospectuses and the original and amended

Registration Statements. The Prospectus Supplement noted, regarding one of the Company’s

corporate vehicle sourcing partners that: “For the three months ended March 31, 2021, one of our

corporate vehicle sourcing partners, with whom we do not have long-term consignment

contracts, accounted for more than 60% of the cars we sold and more than 60% of our retail

vehicle revenues during this period was derived from the sale of these cars.” The Prospectus

Supplement did not discuss that a pause in this relationship was likely.

       84.      The above statements identified in ¶¶ 80, 81, and 83 were materially false and/or

misleading and failed to disclose material adverse facts about the Company’s business,


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operations, and prospects. Specifically, the identified statements failed to disclose that: (1) due

to market conditions, this corporate vehicle sourcing partner was likely to pause consignments to

the Company; and (2) the Company failed to maintain internal controls. As a result of the

foregoing, the Company’s positive statements about its business, operations, and prospects were

materially misleading and/or lacked a reasonable basis.

                                   The Truth Fully Emerges

       85.      On May 26, 2021, the Company announced an update to its profit-sharing

sourcing partner arrangement. Specifically, the Company stated that its “profit-sharing corporate

vehicle sourcing partner informed the Company that, in light of current wholesale market

conditions, it has paused consignments to the Company.” Moreover, this partner “accounted for

more than 60% of the cars sold and sourced” during first quarter 2021 and “less than 50% of the

cars sold and approximately 25% of cars sourced” during second quarter 2021 to date. As a result,

the Company lowered its fiscal 2021 outlook:

       Updated 2021 Outlook
       The Company is updating its 2021 outlook and financial guidance and comments
       with respect to its expected second quarter 2021 performance previously provided
       on May 10, 2021 as a result of:
       •      the current business climate, as impacted by the lack of vehicles from this
              profit-sharing account, coupled with the unpredictable timeline of the chip
              shortage for new cars and its impact on the wholesale and retail
              automotive markets; and
       •      the slippage in certain hub openings to later than previously expected.

       For the full year 2021, the Company expects the following results. This 2021
       outlook assumes that, in the second quarter of 2021, the Company will sell greater
       than 2,000 retail units and will achieve a gross profit per unit of at least $1,800.




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       146.    On this news, the price per share of the Company’s common stock fell $0.70, or

13.4%, to close May 26, 2021 at $4.51.

                                 DAMAGES TO CARLOTZ

       147.   As a direct and proximate result of the Individual Defendants’ misconduct,

CarLotz has lost and will continue to lose and expend many millions of dollars.

       148.   Such expenditures include, but are not limited to, the fees associated with the

Securities Class Action filed against the Company and the Company’s CEO and CFO, and any

internal investigations, and amounts paid to outside lawyers, accountants, and investigators in

connection thereto.

       149.   Additionally, these expenditures include, but are not limited to, unjust

compensation, benefits, and other payments provided to the Individual Defendants who breached

their fiduciary duties to the Company.

       150.    As a direct and proximate result of the Individual Defendants’ conduct, CarLotz

has also suffered and will continue to suffer a loss of reputation and goodwill, and a “liar’s

discount” that will plague the Company’s stock in the future due to the Company’s and their

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misrepresentations and the Individual Defendants’ breaches of fiduciary duties and unjust

enrichment.

                                 DERIVATIVE ALLEGATIONS

        151.    Plaintiff brings this action derivatively and for the benefit of CarLotz to redress

injuries suffered, and to be suffered, as a result of the Individual Defendants’ breaches of their

fiduciary duties as directors and/or officers of CarLotz, unjust enrichment, abuse of control,

gross mismanagement, waste of corporate assets, violations of the Exchange Act, the aiding and

abetting thereof, as well as for contribution under Sections 10(b) and 21D of the Exchange Act.

        152.    CarLotz is named solely as a nominal party in this action. This is not a collusive

action to confer jurisdiction on this Court that it would not otherwise have.

        153.    Plaintiff is, and has been at all relevant times, a shareholder of CarLotz. Plaintiff

will adequately and fairly represent the interests of CarLotz in enforcing and prosecuting its

rights, and, to that end, has retained competent counsel, experienced in derivative litigation, to

enforce and prosecute this action.

                                 DEMAND FUTILITY ALLEGATIONS

        154.     Plaintiff incorporates by reference and realleges each and every allegation stated

above as if fully set forth herein.

        155.     A pre-suit demand on the Board of CarLotz is futile and, therefore, excused. At

the time this suit was filed, the Board was comprised of eight members: Defendants Bor,

Abraham, Carrel, Kauss, Mitchell, Sheehy, Skinner, and Solorzano (the “Director Defendants”).

Plaintiff needs only to allege demand futility as to four of eight Director Defendants who are on

the Board at the time this action is commenced.




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       156.    Demand is excused as to all of the Director Defendants because each one of them

faces, individually and collectively, a substantial likelihood of liability as a result of the scheme

they engaged in knowingly or recklessly to make and/or cause the Company to make false and

misleading statements and omissions of material facts which renders them unable to impartially

investigate the charges and decide whether to pursue action against themselves and the other

perpetrators of the scheme.

       157.     In complete abdication of their fiduciary duties, the Director Defendants either

knowingly or recklessly participated in the foregoing scheme. The fraudulent scheme were

intended to make the Company appear more profitable and attractive to investors. Moreover, the

Director Defendants caused the Company to fail to maintain internal controls. As a result of the

foregoing, the Director Defendants breached their fiduciary duties, face a substantial likelihood

of liability, are not disinterested, and demand upon them is futile, and thus excused.

       158.     Additional reasons that demand on Defendant Bor is futile follow. Defendant Bor

is the Company’s CEO and the Chairman of the Board. Thus, as the Company admits, he is a

non-independent director. The Company provides Defendant Bor with his principal occupation

for which he receives handsome compensation As CEO, Defendant Bor was ultimately

responsible for all of the false and misleading statements and omissions that were made during

the Relevant Period, including those which he personally made on earnings conference calls, and

those which he signed in the original Registration Statement, amended Registration Statement,

and 2020 10-K—for which he also signed SOX certifications. In addition, the 2021 Proxy

Statement was solicited on his behalf and contained false and misleading statements. As the

Company’s highest officer and as the trusted Board Chairman, he conducted little, if any,

oversight of the scheme to cause the Company to make false and misleading statements,


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consciously disregarded his duties to monitor internal controls over reporting and engagement in

the scheme, and consciously disregarded his duties to protect corporate assets. Moreover,

Defendant Bor is a defendant in the Securities Class Action. For these reasons, Defendant Bor

breached his fiduciary duties, faces a substantial likelihood of liability, is not independent or

disinterested, and thus demand upon him is futile and, therefore, excused.

       159.     Additional reasons that demand is futile on Defendant Abraham follow. As a

Company director, Defendant Abraham is entitled to significant compensation. She signed, or

had signed on her behalf, the Registration Statement, the amended Registration Statement, and

the 2020 10-K, which each contained false and misleading statements. In addition, the 2020

Proxy Statement was solicited on her behalf and contained false and misleading statements. As a

trusted Company director, she conducted little, if any, oversight of the scheme to cause the

Company to make false and misleading statements, consciously disregarded her duties to

monitor internal controls over reporting and engagement in the scheme, and consciously

disregarded her duties to protect corporate assets. For these reasons, Defendant Abraham

breached her fiduciary duties, faces a substantial likelihood of liability, is not independent or

disinterested, and thus demand upon her is futile and, therefore, excused.

       160.     Additional reasons that demand is futile on Defendant Carrel follow. As a

Company director, Defendant Carrel is entitled to significant compensation. He signed, or had

signed on his behalf, the Registration Statement, the amended Registration Statement, and the

2020 10-K, which each contained false and misleading statements. In addition, the 2020 Proxy

Statement was solicited on his behalf and contained false and misleading statements. As a trusted

Company director, he conducted little, if any, oversight of the scheme to cause the Company to

make false and misleading statements, consciously disregarded his duties to monitor internal


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controls over reporting and engagement in the scheme, and consciously disregarded his duties to

protect corporate assets. For these reasons, Defendant Carrel breached his fiduciary duties, faces

a substantial likelihood of liability, is not independent or disinterested, and thus demand upon

him is futile and, therefore, excused.

       161.     Additional reasons that demand is futile on Defendant Kauss follow. As a

Company director, Defendant Kauss is entitled to significant compensation. She signed, or had

signed on her behalf, the Registration Statement, the amended Registration Statement, and the

2020 10-K, which each contained false and misleading statements. In addition, the 2020 Proxy

Statement was solicited on her behalf and contained false and misleading statements. As a

trusted Company director, she conducted little, if any, oversight of the scheme to cause the

Company to make false and misleading statements, consciously disregarded her duties to

monitor internal controls over reporting and engagement in the scheme, and consciously

disregarded her duties to protect corporate assets. For these reasons, Defendant Kauss breached

her fiduciary duties, faces a substantial likelihood of liability, is not independent or disinterested,

and thus demand upon her is futile and, therefore, excused.

       162.     Additional reasons that demand is futile on Defendant Mitchell follow. As a

Company director, Defendant Mitchell is entitled to significant compensation. He signed, or had

signed on his behalf, the Registration Statement, the amended Registration Statement, and the

2020 10-K, which each contained false and misleading statements. In addition, the 2020 Proxy

Statement was solicited on his behalf and contained false and misleading statements that

contributed to his reelection to the Board. As a trusted Company director, he conducted little, if

any, oversight of the scheme to cause the Company to make false and misleading statements,

consciously disregarded his duties to monitor internal controls over reporting and engagement in


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the scheme, and consciously disregarded his duties to protect corporate assets. For these reasons,

Defendant Mitchell breached his fiduciary duties, faces a substantial likelihood of liability, is not

independent or disinterested, and thus demand upon him is futile and, therefore, excused.

       163.     Additional reasons that demand is futile on Defendant Sheehy follow. As a

Company director, Defendant Sheehy is entitled to significant compensation. She signed, or had

signed on her behalf, the Registration Statement, the amended Registration Statement, and the

2020 10-K, which each contained false and misleading statements. In addition, the 2020 Proxy

Statement was solicited on her behalf and contained false and misleading statements that

contributed to her reelection to the Board. As a trusted Company director, she conducted little, if

any, oversight of the scheme to cause the Company to make false and misleading statements,

consciously disregarded her duties to monitor internal controls over reporting and engagement in

the scheme, and consciously disregarded her duties to protect corporate assets. For these reasons,

Defendant Sheehy breached her fiduciary duties, faces a substantial likelihood of liability, is not

independent or disinterested, and thus demand upon her is futile and, therefore, excused.

       164.     Additional reasons that demand is futile on Defendant Skinner follow. As a

Company director, Defendant Skinner is entitled to significant compensation. He signed, or had

signed on his behalf, the Registration Statement, the amended Registration Statement, and the

2020 10-K, which each contained false and misleading statements. In addition, the 2020 Proxy

Statement was solicited on his behalf and contained false and misleading statements. As a trusted

Company director, he conducted little, if any, oversight of the scheme to cause the Company to

make false and misleading statements, consciously disregarded his duties to monitor internal

controls over reporting and engagement in the scheme, and consciously disregarded his duties to

protect corporate assets. For these reasons, Defendant Skinner breached his fiduciary duties,


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faces a substantial likelihood of liability, is not independent or disinterested, and thus demand

upon him is futile and, therefore, excused.

       165.     Additional reasons that demand is futile on Defendant Solorzano follow. As a

Company director, Defendant Solorzano is entitled to significant compensation. He signed, or

had signed on his behalf, the Registration Statement, the amended Registration Statement, and

the 2020 10-K, which each contained false and misleading statements. In addition, the 2020

Proxy Statement was solicited on his behalf and contained false and misleading statements that

contributed to his reelection to the Board. As a trusted Company director, he conducted little, if

any, oversight of the scheme to cause the Company to make false and misleading statements,

consciously disregarded his duties to monitor internal controls over reporting and engagement in

the scheme, and consciously disregarded his duties to protect corporate assets. For these reasons,

Defendant Solorzano breached his fiduciary duties, faces a substantial likelihood of liability, is

not independent or disinterested, and thus demand upon him is futile and, therefore, excused.

       166.     Additional reasons that demand on the Board is futile follow.

       146.     Defendant Mitchell and Carrel are managing directors of TRP. TRP has done

substantial business with CarLotz, making Defendants Michell and Carrel party to numerous

related party transaction. Prior to the Merger, CarLotz, Inc. incurred monthly management fees

of $21,000 payable to TRP, of which $373,000 has been paid or accrued for the year ended

December 31, 2020. CarLotz, Inc. had a payable to TRP, totaling $5.1 million as of December

31, 2020. Endurance Dealer Services LLC, which is owned by TRP, underwrites and administers

contracts sold by CarLotz and is ultimately reinsured by Orange Peel Protection Reinsurance,

Ltd., a wholly-owned subsidiary of CarLotz. In 2019, as part of its normal course of business,

CarLotz entered into a Master Services Agreement with Flex Fleet Rental LLC, as one of the


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corporate vehicle sourcing partners that CarLotz services. TRP is an investor in Flex Fleet Rental

LLC. The history of, and prospect of doing more, business between the two companies casts

renders Defendants Michell and Carrel unable to disinterestedly and independently consider

commencing litgation against themselves and the other Individual Defendants.

       147.     On January 21, 2021, the Company entered into a registration rights and lock-up

agreement (the “Registration Rights and Lock-Up Agreement”) with Acamar Sponsor—an entity

controlled by Defendant Solorzano—and certain pre-Merger CarLotz stockholders (the “New

Holders” and, collectively with Acamar Sponsor, the “Holders”). The terms of the Registration

Rights and Lock-Up Agreement required the Company to, inter alia, file and have declared and

maintained effective a registration statement to register the resale of certain shares of common

stock held by the Holders. This registration statement was declared effective on March 23, 2021.

       148.     Moreover, the Registration Rights and Lock-Up Agreement gives Defendant

Bor, TRP—i.e., Defendants Mitchell and Carrel—and Acamar Sponsor—i.e., Defendant

Solorzano (the “Demanding Holders”)—two demand rights each, allowing giving them to

demand that the Company file a registration statement to register the securities of the Company

held by the Demanding Holder, and each may specify that such demand registration take the

form of an underwritten offering. The Demanding Holders have unlimited rights to request that

the Company register an underwritten offering pursuant to the resale registration statement.

Holders also have “piggy-back” registration rights. The Registration Rights and Lock-Up

Agreement further provides that the Company will pay certain expenses relating to such

registrations and indemnify the Holders against (or make contributions in respect of) certain

liabilities that may arise under the Securities Act of 1933.

       149.     With these rights, and the value they represent for each of the Holders,


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Defendants Bor, Carrel, Mitchell, and Solorzano have conflicts of interest and are incapable of

independently and disinterestedly considering a demand against themselves and the other

Individual Defendants.

       150.     Moreover, in connection with the Merger, Acamar Partners—controlled by

Defendant Solorzano—entered into separate subscription agreements (each, a “Subscription

Agreement”) with a number of purchasers (the “Subscribers”), pursuant to which the Subscribers

agreed to purchase, and Acamar Partners agreed to sell to the Subscribers, shares of common

stock (the “PIPE Shares”), for a purchase price of $10.00 per share and an aggregate purchase

price of $125.0 million (the “PIPE Investment”). Pursuant to the Subscription Agreements, the

Company is required to file and maintain an effective registration statement with respect to the

PIPE Shares for the benefit of the Subscribers.

       151.     As part of the PIPE Investment, among other Subscribers, TRP—controlled by

Mitchell and Carrel—purchased 1,000,000 PIPE Shares for $10,000,000, Defendant Bor

purchased 166,000 PIPE Shares for $1,660,000, and Acamar Sponsor—controlled by

Defendant Solorzano—purchased 250,214 PIPE Shares for $2,502,140.

       152.     Because of these conflicts of interest, Defendants Bor, Carrel, Mitchell, and

Solorzano are further unable to independently and disinterestedly consider a demand against

themselves and the other Individual Defendants.

       153.     Defendants Kauss, Sheehy, and Skinner (the “Audit Committee Defendants”)

served as members of the Audit Committee at all relevant times. Pursuant to the Company’s

Audit Committee Charter, the Audit Committee Defendants are responsible for the effectiveness

of the Company’s internal controls, the integrity of its financial statements, and its compliance

with laws and regulations. The Audit Committee Defendants failed to ensure the integrity of the


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Company’s internal controls, allowing the materially misleading financial statements to be

disseminated in the Company’s SEC filings and other disclosures. Thus, the Audit Committee

Defendants breached their fiduciary duties, are not disinterested, and demand is excused as to

them.

        154.   CarLotz has been and will continue to be exposed to significant losses due to the

wrongdoing complained of herein, yet the Director Defendants have not filed any lawsuits

against the Individual Defendants or others who were responsible for that wrongful conduct to

attempt to recover for CarLotz any part of the damages CarLotz suffered and will continue to

suffer thereby. Thus, any demand upon the Director Defendants would be futile.

        155.   The Individual Defendants’ conduct described herein and summarized above

could not have been the product of legitimate business judgment as it was based on bad faith and

intentional, reckless, or disloyal misconduct. Thus, none of the Director Defendants can claim

exculpation from their violations of duty pursuant to the Company’s charter (to the extent such a

provision exists). As a majority of the Director Defendants face a substantial likelihood of

liability, they are self-interested in the transactions challenged herein are not capable of

exercising independent and disinterested judgment about whether to pursue this action on behalf

of the shareholders of the Company. Accordingly, demand is excused as being futile.

        156.   The acts complained of herein constitute violations of fiduciary duties owed by

CarLotz’s officers and directors, and these acts are incapable of ratification.

        157.   The Director Defendants may also be protected against personal liability for their

acts of mismanagement and breaches of fiduciary duty alleged herein by directors’ and officers’

liability insurance if they caused the Company to purchase it for their protection with corporate

funds, i.e., monies belonging to the stockholders of CarLotz. If there is a directors’ and officers’


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liability insurance policy covering the Director Defendants, it may contain provisions that

eliminate coverage for any action brought directly by the Company against the Director

Defendants, known as, inter alia, the “insured-versus-insured exclusion.” As a result, if the

Director Defendants were to sue themselves or certain of the officers of CarLotz, there would be

no directors’ and officers’ insurance protection. Accordingly, the Director Defendants cannot be

expected to bring such a suit. On the other hand, if the suit is brought derivatively, as this action

is brought, such insurance coverage, if such an insurance policy exists, will provide a basis for

the Company to effectuate a recovery. Thus, demand on the Director Defendants is futile and,

therefore, excused.

          158.    If there is no directors’ and officers’ liability insurance, then the Director

Defendants will not cause CarLotz to sue the Individual Defendants named herein, since, if they

did, they would face a large uninsured individual liability. Accordingly, demand is futile in that

event, as well.

          159.     Thus, for all of the reasons set forth above, all of the Director Defendants, and, if

not all of them, at least four of the Director Defendants, cannot consider a demand with

disinterestedness and independence. Consequently, a demand upon the Board is excused as

futile.

                                            FIRST CLAIM

     Against the Director Defendants for Violations of Section 14(a) of the Exchange Act

          160.    Plaintiff incorporates by reference and realleges each and every allegation set

forth above, as though fully set forth herein.

          161.    Section 14(a) of the Exchange Act, 15 U.S.C. § 78n(a)(1), provides that “[i]t shall

be unlawful for any person, by use of the mails or by any means or instrumentality of interstate


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commerce or of any facility of a national securities exchange or otherwise, in contravention of

such rules and regulations as the [SEC] may prescribe as necessary or appropriate in the public

interest or for the protection of investors, to solicit or to permit the use of his name to solicit any

proxy or consent or authorization in respect of any security (other than an exempted security)

registered pursuant to section 12 of this title [15 U.S.C. § 78l].”

       162.    Rule 14a-9, promulgated pursuant to § 14(a) of the Exchange Act, provides that

no proxy statement shall contain “any statement which, at the time and in the light of the

circumstances under which it is made, is false or misleading with respect to any material fact, or

which omits to state any material fact necessary in order to make the statements therein not false

or misleading.” 17 C.F.R. § 240.14a-9.

       163.    Under the direction and watch of the Director Defendants the 2021 Proxy

Statement failed to disclose that contrary to the 2021 Proxy Statement’s descriptions of the

Board’s risk oversight function and the Audit Committee’s responsibilities, the Board and its

committees were not adequately exercising these functions, were causing or permitting the

Company to issue false and misleading statements.

       164.    The 2021 Proxy Statement also failed to disclose that: (1) to minimize returns to

the corporate vehicle sourcing partner accounting for over 60% of the Company’s inventory, the

Company engaged in aggressive pricing; (2) due to the foregoing, the Company’s GPU forecast

was inflated; (3) due to market conditions, this corporate vehicle sourcing partner was likely to

pause consignments to the Company; and (4) the Company failed to maintain internal controls.

As a result, the 2021 Proxy Statement was materially false and misleading.

       165.    In the exercise of reasonable care, the Director Defendants should have known

that by misrepresenting or failing to disclose the foregoing material facts, the statements


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contained in the 2021 Proxy Statement were materially false and misleading. The

misrepresentations and omissions were material to Plaintiff in voting on the matters set forth for

shareholder determination in the 2021 Proxy Statement, including but not limited to, the election

of Defendants Mitchell, Sheehy, and Solorzano.

       166.    The false and misleading elements of the 2021 Proxy Statement led to, among

other things, the election of the Defendants Mitchell, Sheehy, and Solorzano, which allowed

them to continue to breach their fiduciary duties to CarLotz.

       167.    The Company was damaged as a result of the Director Defendants’ material

misrepresentations and omissions in the 2021 Proxy Statement.

       168.     Plaintiff, on behalf of CarLotz, has no adequate remedy at law.

                                        SECOND CLAIM

              Against the Individual Defendants for Breach of Fiduciary Duties

       169.    Plaintiff incorporates by reference and realleges each and every allegation set

forth above, as though fully set forth herein.

       170.    Each Individual Defendant owed to the Company the duty to exercise candor,

good faith, and loyalty in the management and administration of CarLotz’s business and affairs.

       171.    Each of the Individual Defendants violated and breached his fiduciary duties of

candor, good faith, loyalty, reasonable inquiry, oversight, and supervision.

       172.    The Individual Defendants’ conduct set forth herein was due to their intentional or

reckless breach of the fiduciary duties they owed to the Company, as alleged herein. The

Individual Defendants intentionally or recklessly breached or disregarded their fiduciary duties

to protect the rights and interests of CarLotz.

       173.    In breach of their fiduciary duties owed to CarLotz, the Individual Defendants


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willfully or recklessly made and/or caused the Company to make false and/or misleading

statements and/or omissions of material fact that failed to disclose, inter alia, that: (1) because of

“surge in inventory” during the second half of 2020, the Company was experiencing a “a logjam

that resulted in slower processing and higher days to sell[;]” (2) because of this, the Company’s

GPU would be negatively affected; (3) to minimize returns to the corporate vehicle sourcing

partner accounting for over 60% of the Company’s inventory, the Company engaged in

aggressive pricing; (4) due to the foregoing, the Company’s GPU forecast was inflated; (5) due

to market conditions, this corporate vehicle sourcing partner was likely to pause consignments to

the Company; and (6) the Company failed to maintain internal controls. As a result of the

foregoing, CarLotz’s public statements about its business, operations, and prospects were

materially false and misleading at all relevant times.

       174.    The Individual Defendants failed to correct and/or caused the Company to fail to

correct the false and/or misleading statements and/or omissions of material fact, which renders

them personally liable to the Company for breaching their fiduciary duties.

       175.    Also in breach of their fiduciary duties, the Individual Defendants caused the

Company to fail to maintain internal controls.

       176.    The Individual Defendants had actual or constructive knowledge that they had

caused the Company to improperly engage in the fraudulent scheme set forth herein and to fail to

maintain internal controls. The Individual Defendants had actual knowledge that the Company

was engaging in the fraudulent scheme set forth herein, and that internal controls were not

adequately maintained, or acted with reckless disregard for the truth, in that they caused the

Company to improperly engage in the fraudulent scheme and to fail to maintain adequate internal

controls, even though such facts were available to them. Such improper conduct was committed


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knowingly or recklessly and for the purpose and effect of artificially inflating the price of

CarLotz’s securities. The Individual Defendants, in good faith, should have taken appropriate

action to correct the scheme alleged herein and to prevent it from continuing to occur.

       177.    These actions were not a good-faith exercise of prudent business judgment to

protect and promote the Company’s corporate interests.

       178.    As a direct and proximate result of the Individual Defendants’ breaches of their

fiduciary obligations, CarLotz has sustained and continues to sustain significant damages. As a

result of the misconduct alleged herein, the Individual Defendants are liable to the Company.

       179.     Plaintiff on behalf of CarLotz has no adequate remedy at law.

                                         THIRD CLAIM

                  Against the Individual Defendants for Unjust Enrichment

       180.    Plaintiff incorporates by reference and realleges each and every allegation set

forth above, as though fully set forth herein.

       181.    By their wrongful acts, violations of law, and false and misleading statements and

omissions of material fact that they made and/or caused to be made, the Individual Defendants

were unjustly enriched at the expense of, and to the detriment of, CarLotz.

       182.    The Individual Defendants either benefitted financially from the improper

conduct, or received bonuses, stock options, or similar compensation from CarLotz that was tied

to the performance or artificially inflated valuation of CarLotz, or received compensation or

other payments that were unjust in light of the Individual Defendants’ bad faith conduct.

       183.    Plaintiff, as a shareholder and a representative of CarLotz, seeks restitution from

the Individual Defendants and seeks an order from this Court disgorging all profits, including

from insider transactions, the redemption of preferred stock, benefits, and other compensation,


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including any performance-based or valuation-based compensation, obtained by the Individual

Defendants due to their wrongful conduct and breach of their fiduciary and contractual duties.

       184.     Plaintiff on behalf of CarLotz has no adequate remedy at law.

                                     FOURTH CLAIM
                   Against the Individual Defendants for Abuse of Control

       185.    Plaintiff incorporates by reference and realleges each and every allegation set

forth above, as though fully set forth herein.

       186.    The Individual Defendants’ misconduct alleged herein constituted an abuse of

their ability to control and influence CarLotz, for which they are legally responsible.

       187.    As a direct and proximate result of the Individual Defendants’ abuse of control,

CarLotz has sustained significant damages. As a result of the misconduct alleged herein, the

Individual Defendants are liable to the Company.

       188.    Plaintiff on behalf of CarLotz has no adequate remedy at law.

                                       FIFTH CLAIM
                Against the Individual Defendants for Gross Mismanagement

       189.    Plaintiff incorporates by reference and realleges each and every allegation set

forth above, as though fully set forth herein.

       190.    By their actions alleged herein, the Individual Defendants, either directly or

through aiding and abetting, abandoned and abdicated their responsibilities and fiduciary duties

with regard to prudently managing the assets and business of CarLotz in a manner consistent

with the operations of a publicly-held corporation.

       191.    As a direct and proximate result of the Individual Defendants’ gross

mismanagement and breaches of duty alleged herein, CarLotz has sustained and will continue to

sustain significant damages.


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       192.    As a result of the misconduct and breaches of duty alleged herein, the Individual

Defendants are liable to the Company.

       193.     Plaintiff on behalf of CarLotz has no adequate remedy at law.

                                      SIXTH CLAIM
              Against the Individual Defendants for Waste of Corporate Assets

       194.    Plaintiff incorporates by reference and realleges each and every allegation set

forth above, as though fully set forth herein.

       195.    The Individual Defendants caused the Company to pay the Individual Defendants

excessive salaries and fees, to the detriment of the shareholders and the Company.

       196.    As a result of the foregoing, and by failing to properly consider the interests of the

Company and its public shareholders, the Individual Defendants have caused CarLotz to waste

valuable corporate assets, to incur many millions of dollars of legal liability and/or costs to

defend unlawful actions, to engage in internal investigations, and to lose financing from

investors and business from future customers who no longer trust the Company and its products.

       197.    As a result of the waste of corporate assets, the Individual Defendants and are

each liable to the Company.

       198.     Plaintiff on behalf of CarLotz has no adequate remedy at law.

                                    SEVENTH CLAIM
                     Against Defendants Bor and Stoltz for Contribution
                     Under Sections 10(b) and 21D of the Exchange Act

       199.    Plaintiff incorporates by reference and realleges each and every allegation set

forth above, as though fully set forth herein.

       200.    CarLotz, Defendant Bor, and Defendant Stoltz are named as defendants in the

Securities Class Action, which assert claims under the federal securities laws for violations of

Sections 10(b) and 20(a) of the Exchange Act, and SEC Rule 10b-5 promulgated thereunder. If

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and when the Company is found liable in the Securities Class Action for these violations of the

federal securities laws, the Company’s liability will be in whole or in part due to Defendants

Bor’s and Stoltz’s willful and/or reckless violations of their obligations as officers and/or

director of CarLotz.

       201.    Defendants Bor and Stoltz, because of their positions of control and authority as

CEO and CFO of CarLotz, respectively, were able to and did, directly and/or indirectly, exercise

control over the business and corporate affairs of CarLotz, including the wrongful acts

complained of herein and in the Securities Class Action.

       202.    Accordingly, Defendants Bor and Stoltz are liable under 15 U.S.C. § 78j(b),

which creates a private right of action for contribution, and Section 21D of the Exchange Act, 15

U.S.C. § 78u-4(f), which governs the application of a private right of action for contribution

arising out of violations of the Exchange Act.

       203.     As such, CarLotz is entitled to receive all appropriate contribution or

indemnification from Defendants Bor and Stoltz.

                                     PRAYER FOR RELIEF

       FOR THESE REASONS, Plaintiff demands judgment in the Company’s favor against all

Individual Defendants as follows:

               (a)     Declaring that Plaintiff may maintain this action on behalf of CarLotz, and

that Plaintiff is an adequate representative of the Company;

               (b)     Declaring that the Individual Defendants have breached and/or aided and

abetted the breach of their fiduciary duties to CarLotz;

               (c)     Determining and awarding to CarLotz the damages sustained by it as a

result of the violations set forth above from each of the Individual Defendants, jointly and


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severally, together with pre-judgment and post-judgment interest thereon;

               (d)      Directing CarLotz and the Individual Defendants to take all necessary

actions to reform and improve CarLotz’s corporate governance and internal procedures to

comply with applicable laws and to protect CarLotz and its shareholders from a repeat of the

damaging events described herein, including, but not limited to, putting forward for shareholder

vote the following resolutions for amendments to the Company’s Bylaws or Certificate of

Incorporation and the following actions as may be necessary to ensure proper corporate

governance policies:

                     1. a proposal to strengthen the Board’s supervision of operations and develop

            and implement procedures for greater shareholder input into the policies and

            guidelines of the board;

                     2. a provision to permit the shareholders of CarLotz to nominate at least four

            candidates for election to the Board;

                     3. a proposal to ensure the establishment of effective oversight of compliance

            with applicable laws, rules, and regulations;

               (e)      Awarding CarLotz restitution from Individual Defendants, and each of

them;

               (f)      Awarding Plaintiff the costs and disbursements of this action, including

reasonable attorneys’ and experts’ fees, costs, and expenses; and

               (g)      Granting such other and further relief as the Court may deem just and

proper.

                                         JURY DEMAND

Plaintiff hereby demands a trial by jury.


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Dated: October 20, 2021

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